        Case 2:19-cv-04964-RAL           Document 69     Filed 05/03/23     Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MARK IANELLI,                               :
                                            :
                             Plaintiff      :       CIVIL ACTION NO.
   v.                                       :
                                            :       19-CV-04964-RAL
SERGEANT MICHAEL HARVEY,                    :
                                            :
                            Defendant.      :
                                              :
                                              :ORDER
                                              :
                                              :
        AND NOW, this _____day of ____________,       2023, upon consideration of Plaintiff’s
                                              :
Petition for Attorneys’ Fees and Costs, it is :HEREBY ORDERED that the Petition is
                                              :
GRANTED. Defendant is ordered to pay Plaintiff:    $44,317.65 in attorneys’ fees and costs.
                                              :
                                              :
                                              :     BY THE COURT
                                              :
                                              :
                                              :
                                              :     ___________________
                                              :     Honorable Richard A. Lloret
                                                    U.S. Magistrate Judge
        Case 2:19-cv-04964-RAL             Document 69      Filed 05/03/23      Page 2 of 5




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATS, JAMISON & ASSOCIATES
By: Ryan Anderson, Esquire
     PA. I.D. No. 200512
     1 Bustleton Pike
     Feasterville, Pennsylvania 19053
     randerson@mkats.com
     P: (215) 396-9001
     F: (215) 396-8388                                 ATTORNEYS FOR PLAINTIFF
MARK IANELLI,                                 :
                                              :
                               Plaintiff      :       CIVIL ACTION NO.
   v.                                         :
                                              :       19-CV-04964-RAL
SERGEANT MICHAEL HARVEY,                      :
                                              :
                             Defendant.       :
                                            :
             PLAINTIFF’S PETITION FOR       : ATTORNEYS’ FEES AND COSTS
                                            :
                                            :
        Plaintiff respectfully submits his Petition
                                            :       for Attorneys’ Fees and Costs, as follows: as
                                            :
follows.                                    :
                                            :
        On April 20, 2023, the Jury in the above-captioned
                                            :                matter returned a Verdict in favor of
                                            :
Plaintiff on his §1983 Excessive Force claim.
                                            : See Verdict Sheet attached hereto at Exhibit A. The
                                            :
Jury awarded damages in the amount of :$5,000.00, well above the de minimus or nominal
                                            :
minimum of $1.00 provided for under the Jury: Instructions. Under 42 U.S.C. § 1988, a prevailing
                                            :
party in a §1983 action may be awarded attorney's fees “as part of the costs.” Standards for

awarding attorney’s fees under 42U.S.C.§1988 are “generally applicable in all cases in which

Congress has authorized an award of fees to a ‘prevailing party.’” Hensley v. Eckerhart, 461 U.S.

424, 433 n.7 (1983). In awarding an attorney’s fee under subsection (b) of this section in any

action or proceeding to enforce a provision of section1981 or 1981a of this title, the court, in its

discretion, may include expert fees as part of the attorney’s fee. Accordingly, a prevailing plaintiff
       Case 2:19-cv-04964-RAL           Document 69        Filed 05/03/23      Page 3 of 5




“‘should ordinarily recover an attorney’s fee unless special circumstances would render such an

award unjust’” Newman v. Piggie Park Enterprises, 390 US 400, 402.

       Under Hensley,461 U.S. 424(1983), the starting point for determining the amount of a

reasonable fee is reached by multiplying the number of hours reasonably expended on the litigation

times a reasonable hourly rate. This figure is known as the “lodestar.” See,Lipsett v. Blanco, 975

F.2d 934 (1stCir.1992) Of note, fees in civil rights suit should not be reduced because fees are far

greater (11 times) than the amount of damages awarded where victory serves a public interest. City

of Riverside v.Rivera, 477 U.S. 561(1986). There is a public interest in private enforcement of

civil rights laws even in individual cases. Cowan v. Prudential Ins. Co. of America 935 F.2d 522

(2ndCir.1991).

       Plaintiff’s Counsel has spent a significant amount of time on this matter. See Affidavit of

Ryan Anderson, Esquire of Billing Records and Costs attached hereto at Exhibit B. Plaintiff’s

lodestar calculation is based upon Attorney Anderson’s seventeen (17.5) years of experience and

Attorney Hanratty’s one (1) year of experience (at the time of his activities on this matter). The

respective billing rates are based upon the Community Legal Services of Philadelphia’s Attorney

Fee Schedule, attached hereto at Exhibit C. Attorney Anderson’s rate at $580/hr is the midrange

of attorneys with 16-20 years of experience and Attorney Hanratty’s rate at $235/hr for attorneys

with less than two (2) years of experience. Attorney Anderson’s fees of $580/hr multiplied by 62.6

hours billed equals $36,308.00. Attorney Hanratty’s fees of $235/hr multiplied by 11.7 hours

billed equals $2,749.50. In addition, Plaintiff has incurred costs of $5260.15.

       WHEREFORE, Plaintiff hereby requests this Honorable Court to award $44,317.65 in

attorneys’ fees and costs.

                                                     Respectfully submitted,
      Case 2:19-cv-04964-RAL   Document 69    Filed 05/03/23    Page 4 of 5




                                        KATS, JAMISON & ASSOCIATES




                                        By:
                                                Ryan Anderson, Esquire
                                                Attorneys for Plaintiff
                                                PA I.D. Nos. 48457, 326743
                                                1 Bustleton Pike
                                                Feasterville, Pennsylvania 19053
                                                (215) 396-9001
                                                randerson@mkats.com

Date: May 3, 2023
        Case 2:19-cv-04964-RAL           Document 69      Filed 05/03/23    Page 5 of 5




KATS, JAMISON & ASSOCIATES
By: Ryan Anderson, Esquire
     PA. I.D. No. 200512
     1 Bustleton Pike
     Feasterville, Pennsylvania 19053
     randerson@mkats.com
     P: (215) 396-9001
     F: (215) 396-8388                              ATTORNEYS FOR PLAINTIFF
MARK IANELLI,                               :
                                            :
                             Plaintiff      :       CIVIL ACTION NO.
   v.                                       :
                                            :       19-CV-04964-RAL
SERGEANT MICHAEL HARVEY,                    :
                                            :
                            Defendant.      :
                                            :
                                            :
                                            :
                                            :
                                 CERTIFICATE:      OF SERVICE
                                            :
        I, Bryan Hanratty, Esquire, attorney: for Plaintiff in the above-captioned matter, hereby
                                            :
certify that a true and correct copy of the: foregoing Plaintiff’s Memorandum in Support of
                                            :
Additional Discovery was served upon all :parties and counsel of record on today’s date via the
                                            :
Court’s electronic filing system.           :
                                            :
                                            :        KATS, JAMISON & ASSOCIATES
                                            :



                                                    By:
                                                            Ryan Anderson, Esquire
                                                            Attorneys for Plaintiff
                                                            PA I.D. Nos. 48457, 326743
                                                            1 Bustleton Pike
                                                            Feasterville, Pennsylvania 19053
                                                            (215) 396-9001
        Date: May 3, 2023                                   randerson@mkats.com
